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     (916) 447-1134
5    (916) 448-0265 (Fax)
6    Attorney for Defendant
     Brian Dempsey, Sr.
7

8                                UNITED STATES DISTRICT COURT
9                   IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   United States of America,                      )   Case No. 16 - CR-119-JAM
                                                    )
12                  Plaintiff,                      )
                                                    )   STIPULATION AND ORDER TO
13          vs.                                     )   CONTINUE STATUS HEARING
                                                    )
14   Brian Dempsey, Sr.,                            )
                                                    )   DATE: December 13, 2022
15                  Defendant                       )
                                                        TIME: 9:00 a.m.
                                                    )
16                                                  )   JUDGE: Hon. John A. Mendez
                                                    )
17                                                  )
                                                    )
18                                                  )
                                                    )
19                                                  )
                                                    )
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                                                    )
21                                                  )
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            IT IS HEREBY STIPULATED AND AGREED between the Government, through
23
     Assistant United States Attorney Heiko Coppola, and Defendant Brian Dempsey, Sr., through his
24
     recently appointed undersigned counsel, that the status hearing in this matter be continued from
25
     December 13, 2022, to January 24, 2023, to allow new counsel to prepare to ultimately meet



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1    with and confer with Mr. Dempsey who has not yet returned from the Court ordered terminated
2    competency evaluation.
3           On October 11, 2022, I was formally substituted in to represent Mr. Dempsey. I will
4    need sufficient time to properly review all relevant material, meet with Mr. Dempsey when he
5    arrives back in Sacramento, and then engage in discussions with him.
6           The parties further agree and request that the Court order, for the purpose of computing
7    time under the Speedy Trial Act, 18 U.S.C. § 3161, et seq., within which the trial of this case
8    must commence, that the time period between December 13, 2022, to and including the January
9    24, 2023, status hearing, be excluded pursuant to 18 U.S.C. §§ 3161(h)(1)(A) (“delay resulting
10   from any proceeding, including any examinations, to determine the mental competency or
11   physical capacity of the defendant,” and under Local Code T-4). The parties stipulate and agree
12   that the ends of justice served by granting this time exclusion would outweigh the best interest of
13   the public and the defendant in a speedy trial.
14          For the foregoing reasons, the parties stipulate to continue the status hearing to January
15   24, 2023, at 9:00 a.m.
16

17   IT IS SO STIPULATED.
18   DATED:         December 5, 2022                         Phillip Talbert
                                                             United States Attorney
19
                                                   by        /s/ Heiko Coppola by Jan Karowsky
20
                                                             with Mr. Coppola’s permission
21
                                                             Heiko Coppola
22                                                           Assistant U.S. Attorney
                                                             by Jan David Karowsky
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1    DATED:       December 5, 2022               JAN DAVID KAROWSKY
                                                 Attorney at Law
2                                                A Professional Corporation
3
                                         by       /s/ Jan Karowsky
4
                                                 JAN DAVID KAROWSKY
                                                 Attorney for Defendant
5                                                Brian Dempsey, Sr.

6
     IT IS SO ORDERED.
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8    Dated: December 5, 2022              /s/ John A. Mendez
9                                         THE HONORABLE JOHN A. MENDEZ
                                          SENIOR UNITED STATES DISTRICT JUDGE
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